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                                   UNITED STATES COURT OF APPEALS
                                       FOR THE THIRD CIRCUIT

  ATLAS DATA PRIVACY CORPORATION,
  an assignee of individuals who are Covered          NO.: 25-1574
  Persons, JANE DOE-1, a law enforcement
  officer, and PETER ANDREYEV,

                     Plaintiffs,

  vs.
                                                              CORPORATE DISCLOSURE
  GOHUNT, LLC, GOHUNT                                            STATEMENT AND
  MANAGEMENT HOLDINGS, LLC,                                  STATEMENT OF FINANCIAL
  GOHUNT MANAGEMENT HOLDINGS II,                                   INTEREST
  LLC, RICHARD ROES 1-10, fictitious names
  of unknown individuals, and ABC
  COMPANIES 1-10, fictitious names of
  unknown entities,

                     Defendants.

                                              Instructions

        Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental corporate
party to a proceeding before this Court must file a statement identifying all of its parent corporations
and listing any publicly held company that owns 10% or more of the party’s stock.
        Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the
outcome of the litigation and the nature of that interest. This information need be provided only if a
party has something to report under that section of the LAR.
        In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party
to the proceedings before this Court, the appellant must file this list. LAR 26.1(c).
        The purpose of collecting the information in the Corporate Disclosure and Financial Interest
Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.
        The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court,
or upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must
also be included in the party’s principal brief before the table of contents regardless of whether the
statement has previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.




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         Pursuant to Rule 26.1 and Third Circuit LAR 26.1, Defendants GoHunt, LLC, GoHunt

 Management Holdings, LLC, and GoHunt Management Holdings II, LLC make the following

 disclosure:

        1.         For non-governmental corporate parties please list all parent corporations:

        (a)        GoHunt, LLC is a limited liability company organized under the laws of the State of

                   Nevada. GoHunt, LLC’s members are as follows:

                   The Blake L. Sartini and Delise F. Sartini Family Trust, which is a trust organized

                    under the laws of the State of Nevada. The Blake L. Sartini and Delise F. Sartini

                    Family Trust’s trustees are as follows:

                       o Blake L. Sartini, II

                       o Delise Sartini

                   Sandra V. Russo

                   Lorenzo M. Sartini

                   GoHunt Management Holdings, LLC (see ¶1 (b), infra)

                   GoHunt Management Holdings II, LLC (see ¶ 1(c ) , infra)

        (b)        GoHunt Management Holdings, LLC is a limited liability company organized

                   under the laws of the State of Nevada. GoHunt Management Holdings, LLC’s

                   members are as follows:

                   Christopher M. Porter

                   Joseph E. Stone

                   Charles H. Portell

                   Leslie Marcel Ottolenghi

                   Nanda Kishore Reddy

        (c)        GoHunt Management Holdings II, LLC is a limited liability company organized

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                 under the laws of the State of Nevada. GoHunt Management Holdings II, LLC’s

                 members are as follows:

                 The Lorenzo Michael Sartini Separate Property Trust, which is a trust organized

                  under the laws of the State of Nevada. The Lorenzo Michael Sartini Separate

                  Property Trust’s trustee is as follows:

                     o Lorenzo M. Sartini

                 Christopher M. Porter

                 Nanda Kishore Reddy

                 Lane Colyer

                 Brady Jay Miller

                 Brandon Scott Evans

                 Hemant Nayan

                 Max Stevenson Fronek

                 Scott Christensen

        2.       For non-governmental corporate parties please list all publicly held companies

that hold 10% or more of the party’s stock: No publicly held corporation owns 10% or more of

any of the Defendants.


        3.       If there is a publicly held corporation which is not a party to the proceeding

before this Court but which has as a financial interest in the outcome of the proceeding, please

identify all such parties and specify the nature of the financial interest or interests: There is no

publicly held corporation which is not a party to the proceeding before this Court which has a

financial interest in the outcome of the proceeding.




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        4.      In all appeals counsel for the debtor or trustee of the bankruptcy estate must list:

1) the debtor, if not identified in the case caption; 2) the members of the creditors’ committee or

the top 20 unsecured creditors; and 3) any entity not named in the caption which is active

participant in the bankruptcy proceeding. If the debtor or trustee is not participating in the

appeal, this information must be provided by appellant: None.




 Date: April 11, 2025                                   By: David E. Sellinger
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